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March 20, 2023

VIA CM/ECF
The Honorable Richard G. Andrews
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Unit 9, Room 6325
Wilmington, DE 19801-3555

Re: Interactive Games LLC v. DraftKings, Inc., C.A. No. 19-1105-RGA


Dear Judge Andrews:

        Pursuant to the Court’s March 17, 2023 Oral Order (D.I. 35), and in follow up to their
letter dated March 16, 2022 (D.I. 32), Plaintiff Interactive Games LLC and Defendant
DraftKings Inc. (collectively, the “Parties”) submit this letter to advise the Court of the status of
the case.

       Plaintiff filed a notice of appeal in each of IPR2020-01110 concerning the ’967 patent
(assigned Appeal No. 22-1517), IPR2020-01109 concerning the ’231 patent (assigned Appeal
No. 22-1516), and IPR2020-01107 concerning the ’901 patent (assigned Appeal No. 22-1515).
Appeal No. 22-1515 concerning the ’901 patent was dismissed on April 20, 2022. The issues
have been fully briefed in the appeals related to the ’967 and ’231 patents, and the Parties are
waiting for an oral argument date to be scheduled.

Patent            IPR Number       IPR Outcome         Appeal                Appeal Status
Number                                                 Number
8,616,967         IPR2020-         All unpatentable    22-1517               Fully briefed. Awaiting oral
                  01110                                                      argument date.
8,956,231         IPR2020-         All unpatentable    22-1516               Fully briefed. Awaiting oral
                  01109                                                      argument date.
8,974,3021        IPR2020-         Institution         n/a                   n/a
                  01108            denied

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 On January 20, 2023, the USPTO instituted ex parte reexamination (EPR) of the ’302 Patent.
Specifically, the USPTO found that the grounds in the EPR request raised a “substantial new
question of patentability” with regard to all claims of the ’302 Patent (Claims 1-25).



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Patent            IPR Number     IPR Outcome        Appeal           Appeal Status
Number                                              Number
9,430,901         IPR2020-       All unpatentable   22-1515          Appeal dismissed under
                  01107                                              FRAP 42(b)

       The Parties propose maintaining the stay until the resolution of all appeals. The Parties
also propose that within 14 days of resolution of the last appeal they will submit a status report
addressing whether the stay should be lifted, and the Parties’ positions on next steps.



Respectfully submitted,

/s/ Daniel M. Silver

Daniel M. Silver (#4758)

cc:     All Counsel of Record (via CM/ECF and electronic mail)




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